                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN


 WILLIAM FEEHAN,

                          Plaintiff,

                    v.                              Case No. 2:20-CV-1771

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS,
 MARK L. THOMSEN, MARGE
 BOSTELMANN, JULIE M. GLANCEY,
 DEAN KNUDSON, ROBERT F.
 SPINDELL, JR., in their official capacities,
 GOVERNOR TONY EVERS, in his official capacity,

                          Defendants,

                   &.

DEMOCRATIC NATIONAL COMMITTEE,
                   Proposed Intervenor-Defendant.



         NOTICE OF APPEARANCE OF CHARLES G. CURTIS, JR.



      Attorney Charles G. Curtis, Jr. hereby enters his appearance as counsel for

Proposed Intervenor-Defendant Democratic National Committee.




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      Attorney Curtis is an attorney in the law firm of Perkins Coie LLP, and his

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      Attorney Curtis is licensed to practice law in the State of Wisconsin and is

admitted to practice before the District Court for the Eastern District of Wisconsin.


      Dated: December 3, 2020
                                     Respectfully Submitted,

                                     By: s/ Charles G. Curtis
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